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wEsTERN DISTRICT or TENNESSEE 9
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U.S.A. vs. Candice Freeman Docket No. 2:0;3`£§1&“1`£§-01

Petition on Probation and Supervised Release

COMES NOW Edward E. Shaw PROBA'I`ION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of §§andice Freeman who was placed on supervision by the I-Ionorable

Bernice §. Donald sitting in the court at Memphis, 'I`N on the §§ day oflanuag; , 2094, who fixed the period
of supervision at two (2| years , and imposed the general terms and conditions theretofore adopted by the

Court and also imposed Special Conditions and terms as follows:

l. The defendant shall participate in the Horne Detention program for a period of six (6) months
(Completed.)

2. The defendant shall pay restitution in the amount of $214.95. (Paid In Full)

RESPECTFULLY PRESENTING PETITI()N FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant shall not commit another Federal, state, or local crime.

On January 29, 2005, the defendant conspired with another to rob at gunpoint a person the defendant knew to be
in possession of over $500.00. The defendant has been charged in General Sessions Court of Shelby County,
TN with Aggravated Robbery in violation of TCA §39-13-402, The defendant has made a signed confession to
the Memphis Police.

PRAYING THAT 'I`HE C()URT WILL ORDER a WARRANT be issued for Candice Freeman to appear
before Your Honor to answer charges of violation of Probation.

BOND:

 

This document entered on the docket sheet i corgaliancg
with Ru|e 55 and/or 32(b) FRCrP on / *'

ORDER OF C()URT
I declare under penalty of perjury that the
w foregoing is true and correct
Considered and ordered this Ll__day of
2005 and ordered Executed
filed and rn e a part of the records in the on: /%L f 2005a

the above case. ‘%/W_.j/O%//M_mo

United States Probation Ofl‘icer

 
 
 

"H norable Bern` e B. Donald
U ited States District Judge Place: %e»v/Jé /W
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VIOLATION WORKS HEET

 

 

 

 

I_. Defendant Candice Freeman. (Address: 1525 Roosevelt Street, Memnhis, TN 38127)
2. Docket Numbcr (Year-Seqnence-Defendant No.) 2:03CR20234-0]
3. District/Ofiice Westem District of Ten__nessee (Memohis)
4. 01 06 2004
month day year

({fdt'jj@rem than above):

5. On'ginal District/Ofiice

 

6. Original Docket Number (Year~Sequence~Defendant No.)

 

7. List each violation and determine the applicable grade {Le §7Bl.l}:
Violation{ s}

 

 

 

 

 

Qrads
New Criminal Conduct: Aggravated R_obbery A
8. Most Serious Grade of Violation (gg §7Bl. l(b) A

 

9. Criminal History Category (§§§ §7Bl .4(a))74

 

 

10. Range of imprisonment w §7Bl.4(a))
* The statutory maximum term of imprisonment is five (5) years.

 

 

12 ~ 18 months*

 

 

l l. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{ } (a)l f the minimum term of imprisonment determined under

§7B l .4(Term of Imprisonment) is at least one month
but not more than six months, §7Bl

.3(c) (l) provides sentencing options to imprisonment

{ } (b)If the minimum term of imprisonment determined under §7B l .4(Term of Imprisonrnent) is more than six
months but not more than ten months, §7Bl.3(c) (2) provides sentencing options to imprisonment
ix }

(c)lf` the minimum term of imprisonment determined under §7Bl .4(Term oflmprisonment) is more than ten
months, no sentencing options to imprisonment are available

Cas%e§?d‘§ftir-z%aé'§ii§§§§mbocument 27 Filed 05/11/05 Page 3 of 4 PagelD 31

 

12. Unsatisfled Conditions of Original Sentence

List any restitution, fine, community continement, home detention, or intermittent confinement previously imposed in
connection with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation
{§_€_e §7B1.3(d)}¢

 

 

 

 

Restitution ($) N/A Community Continement N/A
Fine ($) N/A Home Detention N/A
Other N/A Intennittent Confinement N/A
13. Supervised Release

lf` probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions
of §§SD] .l~l.3{_sg §§7BI .3(g)(l)}.

Term: N/A to N/A years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment
impossible upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised
release upon release from imprisonment {B 18 U.S.C. §3583(e) and §7B l .3(g)(2)}.
Pen'od of supervised release to be served following release from imprisonment NMT 3 vears

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

15. Ofl"lcial Detention Adjustment {§e§ §7Bl.3(e)}: months days

Mail documents to: United States Senteneing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

UNITED sATE DSTIIC COURT - WETERN DISRTCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:03-CR-20234 was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

